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                EXHIBIT 4
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                                            BRIEFING ROOM



  Letter from Dana A. Remus, Counsel to the President, to
    David Ferriero, Archivist of the United States, dated
                      October 8, 2021
                              OCTOBER 12, 2021 • STATEMENTS AND RELEASES




                                           October 8, 2021


David Ferriero
Archivist of the United States
National Archives and Records Administration 700 Pennsylvania Ave., N.W.
Washington, D.C., 20408


Dear Mr. Ferriero,


I write in response to your notification of September 8, 2021, regarding a set of documents

requested by the House Select Committee to Investigate the January 6th Attack on the United
States Capitol (the “Documents”), and provided to the White House for review pursuant to the
Presidential Records Act. After my consultations with the Office of Legal Counsel at the
Department of Justice, President Biden has determined that an assertion of executive privilege
is not in the best interests of the United States, and therefore is not justified as to any of the
Documents.


As President Biden has stated, the insurrection that took place on January 6, and the
extraordinary events surrounding it, must be subject to a full accounting to ensure nothing
similar ever happens again. Congress has a compelling need in service of its legislative
functions to understand the circumstances that led to these horrific events. The available
evidence to date establishes a sufficient factual predicate for the Select Committee’s
investigation: an unprecedented effort to obstruct the peaceful transfer of power, threatening
not only the safety of Congress and others present at the Capitol, but also the principles of
democracy enshrined in our history and our Constitution. The Documents shed light on events
within the White House on and about January 6 and bear on the Select Committee’s need to
understand the facts underlying the most serious attack on the operations of the Federal
Government since the Civil War.
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These are unique and extraordinary circumstances. Congress is examining an assault on our
Constitution and democratic institutions provoked and fanned by those sworn to protect them,
and the conduct under investigation extends far beyond typical deliberations concerning the
proper discharge of the President’s constitutional responsibilities. The constih1tional
protections of executive privilege should not be used to shield, from Congress or the public,
information that reflects a clear and apparent effort to subvert the Constitution itself.

The President’s determination applies solely to the Documents as described herein, which
were provided to the White House on September 8, 2021. We continue to review materials you
provided to the White House after that date and will respond at an appropriate time.


We understand that the former President believes that executive privilege should be asserted
with respect to a subset of the Documents. When you notify us of such an assertion, we will
respond accordingly.


                                                                                            Sincerely,


                                                                                   Dana A. Remus
                                                                         Counsel to the President
